         Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 1 of 40
.T




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  STATESBORO DIVISION

     WASEEM DAKER,                                              Case No.
                                                         *
                                                                6:14-CV-00047
                                                         *
            Plaintiff
                                                         *


            V.                                           *                                      3
                                                         *


     PATRICK H. HEAD,et al.                              *


                                                         *

                                                         *
            Defendants


      DECLARATION OF WASEEM DAKER AND PROFFER ON UNAVAILABILITY OF
                                   ADMINISTRATIVE REMEDIES


            COMES NOW WASEEM DAKER,and, pursuant to 28 USC § 1746, declares under

     penally of perjury that the above and foregoing are true and correct to the best of my knowledge.

            I. I am Waseem Daker. I am suijuris and competent to testify in this matter.

            2.1 have personal knowledge of, and am personally familiar with, the facts set forth in

     this Declaration.


            3.1 give this Declaration as evidence in support of Plaintiffs Motion to Not Slay

     Discovery pending disposition of Defendants" Motion to Dismiss, as a proffer of what I expect

     the evidence will show if I am allowed to seek discovery on the issues of exhaustion and

     unavailability of administrative remedies in the Georgia Department of Corrections("GDC').

            4. 1 have been incarcerated in the custody of the Georgia Department of Corrections

     ("GDC")from October 3, 2012, to date.

            5. From October 3, 2012, until April 7, 2014,1 was incarcerated in GDC custody at

     Georgia Diagnostic & Classification Prison ("GDCP")Special Management Unit("SMU"),in

     Jackson, Butts County. Georgia.
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 2 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 3 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 4 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 5 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 6 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 7 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 8 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 9 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 10 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 11 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 12 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 13 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 14 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 15 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 16 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 17 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 18 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 19 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 20 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 21 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 22 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 23 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 24 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 25 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 26 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 27 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 28 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 29 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 30 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 31 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 32 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 33 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 34 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 35 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 36 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 37 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 38 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 39 of 40
Case 6:14-cv-00047-RSB-BWC Document 153 Filed 04/06/20 Page 40 of 40
